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                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

TRUSTEES OF BOSTON COLLEGE,                      )
                                                 )
       Plaintiff, Third Party Defendant,         )
                                                 )
v.                                               )   Case No. 4:24-cv-1523-HEA
                                                 )
URSHAN UNIVERSITY, INC.,                         )
                                                 )
       Defendant, Third Party Defendant,         )
                                                 )
v.                                               )
                                                 )
UNITED PENTECOSTAL CHURCH                        )
DEVELOPMENT FUND, INC.                           )
                                                 )
       Intervenor Plaintiff, Third Party         )
       Plaintiff.                                )

                MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 15(a)(2), Plaintiff respectfully moves the Court

for leave to file its Amended Complaint. This Motion is based on Plaintiff’s Memorandum in

Support filed herewith and incorporated herein, pursuant to Local Rule 4.01, as well as all papers,

filings, and proceedings in this matter. Pursuant to Local Rule 4.07, a copy of Plaintiff’s proposed

Amended Complaint is attached hereto as Exhibit A, and a redline version of the same, detailing

the differences between the Amended Complaint and the currently filed Complaint, ECF No. 1, is

attached hereto as Exhibit B. Plaintiff notes that this proposed Amended Complaint is only as to

Defendant Urshan University, and does not amend, impact, modify, or otherwise affect Plaintiff’s

pending Counterclaims against Intervenor Plaintiff and Third Party Plaintiff United Pentecostal

Church Development Fund, Inc.
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       WHEREFORE, Plaintiff respectfully requests that this Court grant this Motion and give

leave for Plaintiff to file its Amended Complaint.




Dated: March 21, 2025                        Respectfully submitted,

                                             LEWIS RICE LLC


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